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 8                              IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF ARIZONA
 9
10 United States of America,                       No. 18-CR-00422-SMB
11                             Plaintiff,          [PROPOSED] ORDER GRANTING
                                                   DEFENDANTS’ JOINT MOTION TO
12 v.
                                                   ADJOURN DEFENDANTS’ MAY 27, 2019
13 Michael Lacey, et al.,                          DEADLINE FOR RULE 26.2 MATERIALS
14                             Defendants.

15             Before the Court is Defendants’ Motion to Adjourn Defendants’ May 27, 2019 Deadline for
16 Rule 26.2 Material Pertaining to Witnesses.
17       For good cause appearing,
18             IT IS ORDERED that the otherwise applicable time for filing Defendants’ Rule 26.2
19 Material Pertaining to Witnesses is adjourned to a time set by the Court upon consideration of
20 Defendants’ forthcoming June 1, 2019 Status Report.
21             IT IS FURTHER ORDERED that excludable delay under 18 U.S.C. § 3161(h)(1)(D) will
22 occur as a result of the grant of this Order.
23
24 DATED this _____ day of ______________, 2019.
25
26                                                    _________________________________
                                                      Honorable Susan M. Brnovich
27                                                    United States District Judge
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